     Case 2:21-cv-01951-RGK-AFM Document 21 Filed 04/30/21 Page 1 of 2 Page ID #:96



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       Attorneys for Plaintiff,
       WAYNE WEATHERSPOON
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12                            UNITED STATES DISTRICT COURT
13
                             CENTRAL DISTRICT OF CALIFORNIA

14    WAYNE WEATHERSPOON, an                       Case No.: 2:21-cv-01951-RGK-AFM
15    individual,
                     Plaintiff,
16
                                                   PLAINTIFF’S REQUEST FOR
17
          v.                                       DISMISSAL WITH PREJUDICE OF
      BENON AND STANMAN                            ALL DEFENDANTS
18
      SOUTHGATE PARTNERSHIP, a
19    general partnership; 2310 FIRESTONE
20    BLVD. CARL’S JR., a business of              [Fed. R. Civ. P. Rule 41(a)(2)]
      unknown form; and Does 1-10,
21

22                   Defendants.

23

24             Plaintiff Wayne Weatherspoon requests that, pursuant to Federal Rules of
25    Civil Procedure, Rule 41 (a)(1) and (2), this Court enter a dismissal with prejudice
26    of Defendants Benon and Stanman Southgate Partnership, and 2310 Firestone Blvd
27    Carl’s Jr., from Plaintiff’s Complaint, Case Number 2:21-cv-01951-RGK-AFM.
28
                 PLAINTIFF’S REQUEST FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
     Case 2:21-cv-01951-RGK-AFM Document 21 Filed 04/30/21 Page 2 of 2 Page ID #:97



1     The parties herein reached settlement of the present action. Each party will be
2     responsible for their own fees and costs.
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       Dated: April 30, 2021            THE LAW OFFICE OF HAKIMI &
5                                       SHAHRIARI
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8
                                        By: /s/Peter Shahriari
9                                           Peter Shahriari, Esq.
10                                          Attorneys for Plaintiff, Wayne
                                           Weatherspoon
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              PLAINTIFF’S REQUEST FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
